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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PAUL A. HEMESATH
     MICHAEL M. BECKWITH
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2932
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: June 4, 2013
                                           )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Kenny
21   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez;
22   Olaf Hedberg, attorney for defendant German Velazquez; Dina Santos,
23   attorney for defendant Mauricio Portillo; Gilbert Roque, attorney for
24   defendant Guadalupe Reyes-Ontiveros; and Chris Cosca, attorney for
25   Miguel Corona-Soria, that the previously-scheduled status conference
26   date of June 4, 2013, be vacated and the matter set for status
27   conference on July 30, 2013, at 9:45 a.m.
28        This request is made jointly by the government and defense in

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 1   order to permit time for continued preparation, including
 2   investigation, which is currently in progress, and plea negotiations.
 3    The parties agree that the interests of justice served by granting
 4   this continuance outweigh the best interests of the public and the
 5   defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
 6        Further, the parties agree and stipulate the ends of justice
 7   served by the granting of such a continuance outweigh the best
 8   interests of the public and the defendants in a speedy trial and that
 9   time within which the trial of this case must be commenced under the
10   Speedy Trial Act should therefore be excluded under 18 U.S.C.
11   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
12   [complex case] and T4 [reasonable time for defense counsel to
13   prepare], from June 4, 2013, to and including July 30, 2013.
14
15   Dated: May 31, 2013                     /s/ Paul Hemesath
                                             Paul Hemesath
16                                           Assistant United States Attorney
                                             Counsel for Plaintiff
17
18   Dated: May 31, 2013                     /s/ Donald Masuda
                                             DONALD MASUDA
19                                           Attorney for Defendant
                                             IRMA GONZALEZ
20
     Dated: May 31, 2013                     /s/ Olaf Hedberg
21                                           OLAF HEDBERG
                                             Attorney for Defendant
22                                           GERMAN GONZALEZ VELAZQUEZ
23   Dated: May 31, 2013                     /s/ Dina Santos
                                             DINA SANTOS
24                                           Attorney for Defendant
                                             MAURICIO PORTILLO
25
     Dated: May 31, 2013                     /s/ Gilbert Roque
26                                           GILBERT ROQUE
                                             Attorney for Defendant
27                                           GUADALUPE REYES-ONTIVEROS
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     Dated: May 31, 2013                     /s/ Chris Cosca
 2                                           CHRIS COSCA
                                             Attorney for Defendant
 3                                           MIGUEL CORONA-SORIA
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 1                                     O R D E R
 2        The Court, having received, read, and considered the stipulation
 3   of the parties, and good cause appearing therefrom, adopts the
 4   stipulation of the parties in its entirety as its order.              Based on
 5   the stipulation of the parties and the recitation of facts contained
 6   therein, the Court finds that it is unreasonable to expect adequate
 7   preparation for pretrial proceedings and trial itself within the time
 8   limits established in 18 U.S.C. section 3161.         In addition, the Court
 9   specifically finds that the failure to grant a continuance in this
10   case would deny defense counsel to this stipulation reasonable time
11   necessary for effective preparation, taking into account the exercise
12   of due diligence.    The Court finds that the ends of justice to be
13   served by granting the requested continuance outweigh the best
14   interests of the public and the defendants in a speedy trial.
15        The Court orders that the time from June 4, 2013, up to and
16   including July 30, 2013, shall be excluded from computation of time
17   within which the trial of this case must be commenced under the
18   Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
19   (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
20   for defense counsel to prepare].      It is further ordered that the June
21   4, 2013, status conference shall be continued until July 30, 2013, at
22   9:45 a.m.
23
     Dated: 5/31/2013                        /s/ John A. Mendez
24                                           Hon. John A. Mendez
                                             United States District Court Judge
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